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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                            WESTERN DISTRICT OF OKLAHOMA

ANDREW COOKE, ON BEHALF OF                             )
THE ANDREW R. COOKE 1998 TRUST,                        )
Individually and on Behalf of All Others               )
Similarly Situated,                                    )   Master Docket
                                                       )   CIV-14-0087-C
                       Plaintiffs,                     )   (consolidated with CIV-14-0047-C,
v.                                                     )   CIV-14-0058-C, CIV-14-0114-C)
                                                       )
EQUAL ENERGY LTD., et al.,                             )
                                                       )
                       Defendants.                     )
                    NOTICE REGARDING STATUS OF SETTLEMENT
       NOTICE IS HEREBY GIVEN that the parties have reached an agreement in principle for

settlement of all claims. A detailed set of settlement documents, including notice to class

members, have been drafted and are currently being finalized. Before finalizing the settlement

documents, class counsel will conduct confirmatory discovery in the form of one Rule 30(b)(6)

deposition of Equal.     The parties are currently conferring with respect to a date for this

deposition and anticipate that the deposition will occur within the next 30 days. The parties

further anticipate that they will file a motion for preliminary approval shortly thereafter.

DATED this 17th day of September, 2014.               /s/ James E. Howard
                                                      Michael Smith, OBA # 8385
                                                      HALL, ESTILL, HARDWICK, GABLE,
                                                      GOLDEN & NELSON, P.C.
                                                      100 N Broadway, Suite 2900
                                                      Oklahoma City, OK 73102
                                                      Telephone: (405) 553-2821
                                                      Liaison Counsel for Defendants
                                                      James E. Howard
                                                      Jessica M. Andrade
                                                      Admitted Pro Hac Vice
                                                      DORSEY & WHITNEY LLP
                                                      701 Fifth Avenue, Suite 6100
                                                      Seattle, WA 98104-7043
                                                      Telephone: (206) 903-8800
                                                      Counsel for Equal Energy and the
                                                      individual Equal Energy directors
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                          CERTIFICATE OF SERVICE

      I hereby certify that on September 17th, 2014, I electronically transmitted the

foregoing pleading to the Clerk of Court using the ECF System for filing, and a copy

thereof was electronically served upon all parties receiving notice pursuant to the

CM/ECF system.


                                             /s/ James E. Howard
                                             James E. Howard




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